CASE 0:24-cv-04452-JRT-JFD Doc.8 Filed 04/11/25 Pageiof5

UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

Darko Pavlovski in name of himself
and in name of his son F.P. (minor)

Plaintiff(s),
Case No. 24 - CV- 09452

(To be assigned by Clerk of District Court)

VS.

Frontier Airlines Inc. (Defendant)

Federal Aviation Administration (FAA) DEMAND FOR JURY TRIAL
(Party of Interest)
yes[¥] NoL_]

(Enter the full name(s) of ALL defendants in R i C E | VV — D

this lawsuit. Please attach additional sheets

if necessary). APR 1 1 2025
FimsT AMEMDED CLERK, U.S. DISTRICT COURT

COMPLAINT MINNEAPOLIS, MINNESOTA

PARTIES

1. List your name, address and telephone number. Do the same for any additional plaintiffs.

a. Plaintiff
Name Darke Paviovski and his son F.P. (Minor)
Street Address 5024 71st Ave N.
County, City Hennepin, Brooklyn Center

State & Zip Code Minnesota, 55437

Telephone Number (952) 200-7375 SCANNED

APR 11 2025 .4
U.S. DISTRICT COURT MPLS}

CASE 0:24-cv-04452-JRT-JFD Doc.8 Filed 04/11/25 Page2of5

2. List all defendants. You should state the full name of the defendant, even if that defendant is
a government agency, an organization, a corporation, or an individual. Include the address
where each defendant may be served. Make sure that the defendant(s) listed below are
identical to those contained in the above caption.

a. Defendant No. 1

Name Frontier Airlines Inc.
Street Address 2780 Snelling Avenue North, Suite 101
County, City Ramsey, Roseville

State & Zip Code MN, 55113

b. SR ARTY OOF = INTCKEST;

Name Federal Aviation Administration- FAA
Street Address 6020 28th Ave S. Suite 201
County, City Hennepin, Minneapolis

State & Zip Code MN, 55450-2704
c. Defendant No. 3

Name

Street Address

County, City

State & Zip Code

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES AND ADDRESSES ON A SEPARATE SHEET OF PAPER.

Check here if additional sheets of paper are attached / |
Please label the attached sheets of paper to correspond to the appropriate numbered
paragraph above (e.g. Additional Defendants 2.d., 2.e., etc.)
CASE 0:24-cv-04452-JRT-JFD Doc.8 Filed 04/11/25 Page3of5

JURISDICTION

Federal courts are courts of limited jurisdiction. Generally, two types of cases can be heard in
federal court: cases involving a federal question and cases involving diversity of citizenship of
the parties. Under 28 U.S.C. § 1331, a case involving the United States Constitution or federal
laws or treaties is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of
one state sues a citizen of another state and the amount of damages is more than $75,000 is a
diversity of citizenship case.

3. What is the basis for federal court jurisdiction? (check all that apply)
[v ]Federal Question [v Diversity of Citizenship

4. If the basis for jurisdiction is Federal Question, which Federal Constitutional, statutory or
treaty right is at issue? List all that apply.

US Constitution, US Civil Code, Consumer rights, Public Policy/Safety

‘AV

If the basis for jurisdiction is Diversity of Citizenship, what is the state of citizenship of each
party? Each Plaintiff must be diverse from each Defendant for diversity jurisdiction.

Plaintiff Name: Darko Pavlovski State of Citizenship: Minnesota
Defendant No. |: Frontier Airlines State of Citizenship: Colerado
Defendant No. 2: State of Citizenship:

Attach additional sheets of paper as necessary and label this information as paragraph
5.
Check here if additional sheets of paper are attached. [ |

6. What is the basis for venue in the District of Minnesota? (check all that apply)
[ _|Detendant(s) reside in Minnesota [| Facts alleged below primarily occurred in

Minnesota
[ v ] Other: explain

Plaintiff resides in Minnesota, and for plaintiff is extrimly difficult to travel to
Colorado for litigations. Also, Defendant operates businiess and has office
Minnesota.

STATEMENT OF THE CLAIM

Describe in the space provided below the basic facts of your claim. The description of facts
should include a specific explanation of how, where, and when each of the defendants named in
the caption violated the law, and how you were harmed. Each paragraph must be numbered
CASE 0:24-cv-04452-JRT-JFD Doc.8 Filed 04/11/25 Page4of5

separately, beginning with number 7. Please write each single set of circumstances in a
separately numbered paragraph.

7

On December 11th,2023 I my wife and our 12 months old baby were unjustly kicked out
from Frontier airlines flight (Denver-Minneapolis). I carried the baby in a carrier. Upon
entering Attendant B (as referred by Frontier Supervisor Pam), told me to take the baby
out of the carrier and hold him. I explained that the baby is safer in the carrier as I still
hold him but it's stripped to me. I also added that the pervious two flights let me have
the baby in the carrier. Attendant B made threat to kick us out of airplane. | took the
baby out and asked for a Child safety belt. At that poing B called someone (Supervisor
Pam). Pam arrived and baby was in my lap out of the carrier. Pam attacked me for the
carrier, "Why is the carrier on you, remove it!" I said, "She asked me to remove the
baby and the baby is out. I'll put the baby in the carrier when we leave. What's the
problem with it? It's like another jacket on me". Pam said, "Remove it!". I complied
(took the carrier out of me), and again asked for a child safety belt as they give in
Europe. Pam said this is not Europe and then she asked us to leave!

8. Later, Pam said that we got kicked out for complaining and the ultimate saying has
the attendant and that we were removed due to "complaining". I responded, "So, if
someone complained how their coke tastes, you'll remove them?" Pam said, "Yes, if the
attendant feels we need to

9. Later, Frontier wanted to put us on a flight next day at 9am. It took additional 2
hours to get those tickets. That was unnecessary and a total torture for our baby. I think
this was intentional prolonging just to make us suffer!

Attach additional sheets of paper as necessary.

Check here if additional sheets of paper are attached:|/|

Please label the attached sheets of paper to as Additional Facts and continue to number the
paragraphs consecutively.

REQUEST FOR RELIEF

State what you want the Court to do for you and the amount of monetary compensation, 1f any,
you are seeking.

77. @. Prayer 1- Compensation of $1,826.70

30, @. Prayer 2- Payment of $51,147.60 (The same percent Frontier made me spend on
Untied Airlines- multiplied by 28. | paid $65.37 to come to Minnesota; but ended up
paying 28 times more $1,826.70)

1. @. Prayer 3-Punitive damages as determined by Jury. Frontier has all the powers in their
plains and its abusing them outragously. Frontier also has the means. The issue is of
public safety and public concern.

32, @& Prayer 4- Compensation of $300,000.00 for Pain and Suffering.

33 @. Prayer 5- Compensation if warranted, for breach of Constitutional rights of travel and

freedom of movement (Article 4); Freedom of Speech, Ist and X1Vth Amd., among others
CASE 0:24-cv-04452-JRT-JFD Doc.8 Filed 04/11/25 Page5of5

Signed this 11th [E]day of Apri, [F] 2°75

Signature of Plaintiff LLG

Mailing Address 5024 71st Ave. N.
Brooklyn Center, MN, 55429

Telephone Number (952) 200-7375

Note: All plaintiffs named in the caption of the complaint must date and sign the complaint and
provide his/her mailing address and telephone number. Attach additional sheets of paper as
necessary.
